      Case 3:22-cv-00211-SDD-SDJ           Document 261-2     08/25/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                   Plaintiffs,
                                                Civil Action No. 3:22-cv-00211-SDD-SDJ
              v.

                                                Chief Judge Shelly D. Dick
KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,
                                                Magistrate Judge Scott D. Johnson

                   Defendant.

EDWARD GALMON, SR., et al.,

                   Plaintiffs,
                                                Consolidated with
              v.                                Civil Action No. 3:22-cv-00214-SDD-SDJ


R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,


                   Defendant.



                                           ORDER

       Before the Court is Defendants’ Motion for Expedited Consideration of Emergency

Motion. After considering the motion, the Court is of the opinion it should be GRANTED.

       IT IS THEREFORE ORDERED that Plaintiffs will file a response to Defendants’

Emergency Motion by Wednesday, August 30, 2023, and an opinion on Defendants’ Emergency

Motion will be issued by Friday, September 8th, 2023.

       Baton Rouge, Louisiana, this ____ day of ________________, 2023.
Case 3:22-cv-00211-SDD-SDJ   Document 261-2   08/25/23 Page 2 of 2




                             ________________________________________
                             Honorable Judge Shelly D. Dick
                             UNITED STATES DISTRICT JUDGE
                             Middle District of Louisiana




                               2
